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                                 ,,    lFl STATES DISTRICT COURT
 1                        R	          fl1*!DDLE DISTRICT OF ALABAMA
 2
     TERESA PETE8V                -3 p I: 52

 3                     F4#.%P. HACKETT, CLK) Case
                                                                No.:	     ;   Tel- '74
 4                       MIDDLE DISTRICT ALA)
             V.	                                      )  COMPLAINT AND DEMAND FOR
 5                                                    ) JURY TRIAL
     CHARTER COMMUNICATIONS,
 6
                     Defendant
 7

 8
                                                 COMPLAINT
 9
             TERESA PETERSON ("Plaintiff'), by and through her attorneys, Kimmel & Silverman,
10
     P.C., alleges the following against CHARTER COMMUNICATIONS ("Defendant"):
11

12                                             INTRODUCTION

13           1.        Plaintiffs Complaint is based on the Telephone Consumer Protection Act 47

14   U.S.C. § 227, et seq. ("TCPA").

15                                      JURISDICTION AND VENUE
16           2.        This Court's jurisdiction arises under 15 U.S.C. § 1692k(d), which states that
17   such actions may be brought and heard before "any appropriate United States district court
18
     without regard to the amount m controversy," and 28 U.S.C. § 1331, which grants this court
19
     original jurisdiction of all civil actions arising under the laws of the United States.
20
             3.        Defendant regularly conducts business in the State of Alabama, therefore
21
     personal jurisdiction is established.
22
            4.         Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
23

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                                             PLAINTIFF'S COMPLAINT
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                                                               PARTIES
   1
         	               5.	       Plaintiff is a natural person residing in Montgomery, Alabama 36116.
  .2
     	                   6.	       Plaintiff is a "person" as that term is defined by 47 U.S.C. § 153(39).
   3
         	
  4                      7.	       Defendant is a corporation with its principal place of business located at 400

   5             Atlantic St., Stamford, CT 06901.
             	
   6                     8.	       Defendant is a "person" as that term is defined by 47 U.S.C. § 153(39).
         	
   7                     9.	       Defendant acted through its agents, employees, officers, members, directors,
   8
                 heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
   9	
                                                     FACTUAL ALLEGATIONS
  10
	10.	                              Plaintiff has a cellular telephone number.
  11
	11.	                              Plaintiff has only used this number as a cellular telephone number.
  12
	12.	                              Beginning in or around November 2016 and continuing through May 2017,
  13
                 Defendant placed repeated telephone calls to Plaintiff's cellular telephone.
  14
     	                   13.	      Upon initial contact, Plaintiff requested Defendant stop calling thereby revoking
  15

  16 any consent Defendant may have had to call her cellular telephone number.
         	
  17                     14.	      Once Defendant knew its calls were unwanted any continued calls served no

  18 lawful purpose and could only have been placed for the purpose of harassing Plaintiff.
         	
  19                     15.	      However, Defendant ignored Plaintiff s request and continued to call her.
 20	                     16.	      Plaintiff repeatedly informed Defendant's collectors to stop calling through
 21
                 February 2017, but the calls continued.
 22
	17.	                              When contacting Plaintiff, Defendant used an automatic telephone dialing
 23
                 system, automated message and/or prerecorded voice
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                                                       PLAINTIFF'S COMPLAINT
	

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                             18.	    Plaintiff knew that Defendant was using an automatic telephone dialing system,
     1
                     automated message and/or prerecorded Voice because the calls would begin with a recording
     2

     3 before speaking to live representatives.
       	
     4         19.	  Defendant's telephone calls were not made for "emergency purposes."
             	
     5                       20.	   Upon information and belief, Defendant conducts business in a manner Which

     6 violates the TCPA.
             	
     7                                                     COUNT I
                                                 DEFENDANT VIOLATED THE TCPA
     8
                 	           21.	    Under § 227(b)(3)(B) of the TCPA, a person or entity may bring a private cause
     9

    10 of action in an appropriate court "to recover for actual monetary loss from such a violation, or

    11 to receive $500 in damages for each such violation whichever is greater."
         	
    12                       22.	    Under § 227(b)(3)(A) of the TCPA, a person Or entity may bring a private cause

    13 of action in an appropriate court based on a violation of the TCPA or the regulations prescribed

    14 under the TCPA to enjoin such violation.

    15	
                             23.	    Despite the fact that Plaintiff revoked consent to Defendant placing calls to her,
    16
                     Defendant repeatedly placed non-emergency calls to Plaintiff's cellular telephone.
    17
	24.	                                Based upon the conduct of Defendant, Plaintiff avers that the enhancement of
    18
                     damages provided for by the TCPA allowing for Plaintiff to recover up to $1,500 per
    19
                     call/violation be applied to calls placed.
    20
       	                    25.	    Defendant's conduct violated § 227(b)(1)(A)(iii) of the TCPA by placing
    21

    22 repeated calls using an automatic telephone dialing system to Plaintiff cellular telephone

    23

    24

    25



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                                                          PLAINTIFF'S COMPLAINT
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                           WHEREFORE, Plaintiff, TERESA PETERSON, respectfully prays for judgment as
 1
                   follows:
 2

 3
   	                                a.	           All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
       	
 4                                                Statutory damages of $500.00 per violative telephone call pursuant to 47
       	
 5                                                U.S.C. § 227(b)(3)(B);
       	                                  	
 6                                  C.            Treble damages of $1,500.00 per violative telephone call pursuant to 47
       	
 7                                                U.S.C. §227(b)(3);
 8	                                           	
                                    rel           Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
 9
                                    e.	           Any other relief deemed appropriate by this Honorable Court.
10

11
                                                           DEMAND FOR JURY TRIAL
12
                           PLEASE TAKE NOTICE that Plaintiff, TERESA PETERSON, demands a jury trial in
13
                   this case.
14
           	                                                            RESPECTFULLY 	
15                                                                                                           El




16
                     DATED: October 31, 2017
17                                                                       'Sy Lyn^B nnecoffGiisbwg1
                                                                        ! el&Si erman,P.C.
18                                                                      30 East Butler Pike-
                                                                        Ambler, PA 19002
19                                                                      Telephone: (215) 540-8888
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                                                                       Attorney for Plaintiff
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                                                              PLAINTIFF'S COMPLAINT
